 Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 1 of 14 PageID 1



                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 DRASHEA STEVENSON,

        Plaintiff,
                                                       Case No.
v.


FRONTIER FLORIDA, LLC, a Florida
Limited Liability Company,
                                                              JURY TRIAL DEMANDED
      Defendant.
________________________________/

                                           COMPLAINT

        Plaintiff Drashea Stevenson (“Stevenson” or “Plaintiff”), by and through undersigned

counsel, brings this Complaint against the Defendant, Frontier Florida, LLC, a Florida Limited

Liability Company (“Frontier” or “Defendant”), and states as follows:

                                             PARTIES

        1.      Plaintiff Stevenson is an individual over 18 years of age and is thus sui juris.

        2.      Stevenson currently resides in Hillsborough County, Florida, and did at all times

relevant to the allegations herein reside in Hillsborough County, Florida.

        3.      Defendant Frontier is a limited liability company authorized to do business in the

state of Florida.

        4.      The causes of action asserted herein accrued in, and Frontier conducts business

within, the City of Tampa city limits, in Hillsborough County, Florida.




                                      THORPE & THORPE, P.A.
                                          Page 1 of 11
 Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 2 of 14 PageID 2



                                 JURISDICTION AND VENUE

       5.      This is an action under federal law; specifically, Title VII of the Civil Rights Act

of 1964, as amended (“Title VII”) and related state and local law claims.

       6.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and

supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

       7.      Venue is proper in the United States District Court, Middle District of Florida,

pursuant to 28 U.S.C. § 1391(b)(2) as the events or transactions out of which this claim arose

occurred in Hillsborough County, which is located within the Middle District of Florida.

       8.      Furthermore, the Tampa Division is the proper division.         M.D. Fla. Loc. R.

1.02(b)(4).

                                  GENERAL ALLEGATIONS

       9.      Stevenson was employed by Frontier for approximately 16 years prior to his

termination from employment on or about September 20, 2017.

       10.     During that time, he had no disciplinary issues and rose up the ranks, ultimately

achieving the title of Director of Operations.

       11.     Stevenson was one of four such directors in the Tampa Bay area, all of whom

performed the same functions.

       12.     The four directors simply managed different geographic areas.

       13.     One of the other directors was a woman named Rhonda Britto (“Britto”).

       14.     Early in 2017, one of Stevenson’s subordinates, Kyle Perkins (“Perkins”), informed

Stevenson that he believed one of Frontier’s vendors was overcharging for work performed.

       15.     The work that had been performed occurred in Britto’s territory, not Stevenson’s.




                                     THORPE & THORPE, P.A.
                                         Page 2 of 11
 Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 3 of 14 PageID 3



       16.     Nevertheless, Stevenson, wanting to do the right thing, took the concerns to

Frontier’s Vendor Management department.

       17.     Stevenson informed Britto that he was going to have a meeting with Vendor

Management on the issue.

       18.     In February 2017, the Contract Administrator determined that the evidence of the

vendor overcharge Stevenson had presented, which was only a photograph, was not sufficient to

substantiate the vendor overcharging allegation or warrant a costly investigation into the matter.

       19.     Stevenson then instructed the local manager George Barrel (“Barrel”) to meet with

Perkins and Vendor Management, to discuss the issue.

       20.     Vendor Management reiterated to them that the investigation would not take place

because of the lack of substantiating information.

       21.     Stevenson believed that this particular issue had been fully resolved.

       22.     Stevenson saw himself as a mentor to Britto, who had been a director for less time

than he had.

       23.     As such, on March 3, 2017, Stevenson, along with Barrel and Perkins, met with

Britto and Britto’s manager, Joe Torch, to discuss the possible overcharging.

       24.     In that meeting, Stevenson communicated to Britto and the team that the only way

to determine if Perkins’s allegations were valid was for Britto to pay for the cost of excavating the

buried cable, since the cable had been buried in her territory.

       25.     Britto opted not to take any action to determine the validity of the concerns about

overcharging, instead opting to approve of the vendor’s invoice on March 15, 2017.

       26.     During that March 3, 2017 meeting, Stevenson also informed those present that he

would want to be more proactive in ensuring that venders were not overcharging Frontier.



                                     THORPE & THORPE, P.A.
                                         Page 3 of 11
 Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 4 of 14 PageID 4



        27.     Accordingly, Stevenson indicated that he would be using Perkins as his “eyes on

the ground” to make sure that things were going forward correctly and the directors were fully-

informed of issues and could make educated decisions about events in their respective territories.

        28.     Stevenson had also hoped that by having Britto be part of this discussion he could

help train her in her position since she was still in a learning phase and because the possible vendor

overcharging occurred in the territory.

        29.     On approximately September 2, 2017, Vice President Steve Snedeger (“Snedeger”)

contacted Stevenson while Stevenson was on vacation.

        30.     Snedeger raised the issue of the vendor overcharging, although the issue had been

concluded, to Stevenson’s knowledge, in March.

        31.     Snedeger asked about the documentation of the overcharging and about any

conversations that Stevenson had had with Britto on the subject.

        32.     Snedeger’s tone during the phone call was very hostile.

        33.     Snedeger went so far as to accuse Stevenson of taking “kickbacks” from the

overcharging vendor.

        34.     That accusation by Snedeger was not only unfounded, it was inappropriate,

slanderous, and insulting to Stevenson—a man who had dedicated over 15 years of his working

life to Frontier.

        35.     Stevenson, however, respectfully responded to Snedeger, indicating that he had

discussed the possible vendor overcharging with Britto and had taken up the matter with the

contract administrator who had declined to investigate the matter further.

        36.     Stevenson reiterated that the possible vendor overcharging occurred in Britto’s

territory, not his.



                                      THORPE & THORPE, P.A.
                                          Page 4 of 11
 Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 5 of 14 PageID 5



        37.     Nevertheless, Stevenson, who had gone above and beyond to assist Frontier in

vetting out possible vendor overcharging, was unceremoniously terminated on September 20,

2017.

        38.     Meanwhile, to the best of Stevenson’s knowledge, Britto remains employed and

only received a written reprimand.

        39.     Stevenson was a dedicated employee of Frontier who, in 2012, had earned the

Credo Award, which is one of Frontier’s highest honors.

        40.     Stevenson was a top performer, who was ranked second out of 40 directors in terms

of financial performance for Frontier, which would have made him eligible for significant bonuses.

        41.     Stevenson believes he was on target to become a vice president within five years—

a goal which was robbed from him by Frontier’s unlawful actions, as described herein.

        42.     Stevenson wanted to stay with Frontier; but because of the unlawful discrimination,

he was unable to do so.

        43.     Stevenson also believes that other opportunities with comparable companies have

been foreclosed to him as a result of Frontier’s unlawful actions.

        44.     Stevenson fulfilled all conditions precedent and/or administrative prerequisites to

the causes of action herein, to the extent required, and this action is timely-filed thereafter. (Comp.

Exh. A.)

              COUNT I (SEX DISCRIMINATION IN VIOLATION OF TITLE VII)

        45.     Stevenson reaffirms and realleges paragraphs 1-44 above.

        46.     At all relevant times the Defendant had 15 or more employees.

        47.     Stevenson was employed by the Defendant.

        48.     Thus, the Defendant was Stevenson’s “employer” within the meaning of Title VII.



                                      THORPE & THORPE, P.A.
                                          Page 5 of 11
 Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 6 of 14 PageID 6



       49.       Stevenson was and is in a protected class based upon his sex, male.

       50.       Britto is a similarly-situated individual outside of Stevenson’s protected class, in

that Britto is female and her employment was comparable to Stevenson’s in all relevant respects.

       51.       Britto was treated more favorably than Stevenson based at least in part on

Stevenson’s sex.

       52.       Stevenson suffered an adverse employment action when he was terminated from

his employment with the Defendant.

       53.       Britto was not terminated from her employment with the Defendant, despite having

engaged in the behavior that Stevenson was accused of engaging in.

       54.       Thus, Stevenson was discriminated against on the basis of his sex within the

meaning of Title VII.

       55.       As a direct and proximate result of the Defendant’s unlawful employment actions,

Stevenson has suffered and will continue to suffer damages into the indefinite future.

       56.       Stevenson is incurring costs and has retained the services of undersigned counsel,

to whom he is obligated to remit a fee, in connection with the pursuit of his legal rights.

       WHEREFORE, Stevenson demands that the Court enter judgment against the Defendant

for the following:

       a. Back wages and benefits;

       b. Reinstatement or front pay;

       c. Emotional distress, including mental anguish, pain, suffering, and loss of the ability to

             enjoy life;

       d. Attorneys’ fees and costs;

       e. Pre-judgment interest; and



                                      THORPE & THORPE, P.A.
                                          Page 6 of 11
 Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 7 of 14 PageID 7



        f. Any other relief the Court deems just and proper.

          COUNT II (SEX DISCRIMINATION IN VIOLATION OF THE FCRA)

        57.       Stevenson reaffirms and realleges paragraphs 1-44, 46-47, 49-53, and 55-56, above.

        58.       The Defendant was Stevenson’s “employer” within the meaning of the Florida Civil

Rights Act of 1992 (“FCRA”).

        59.       Stevenson was discriminated against on the basis of his sex within the meaning of

FCRA.

        60.       The Defendant’s actions were taken with reckless disregard for Stevenson’s

protected rights under the FCRA, in that the Defendant is a large and well-established corporation

which could and should have been fully aware of state and local laws prohibiting discrimination.

        61.       The Defendant’s callousness is further evidenced by Snedeger’s behavior toward

Stevenson, including falsely accusing him of receiving “kickbacks” from vendors and yelling at

him while Stevenson was on vacation.

        WHEREFORE, Stevenson demands that the Court enter judgment against the Defendant

for the following:

        a. Back wages and benefits;

        b. Reinstatement or front pay;

        c. Emotional distress, including mental anguish, pain, suffering, and loss of the ability to

              enjoy life;

        d. Attorneys’ fees and costs;

        e. Pre-judgment interest;

        f. Punitive damages; and

        g. Any other relief the Court deems just and proper.



                                       THORPE & THORPE, P.A.
                                           Page 7 of 11
 Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 8 of 14 PageID 8



    COUNT III (SEX DISCRIMINATIN IN VIOLATION OF THE CITY OF TAMPA
                       HUMAN RIGHTS ORDINANCE)

         62.       Stevenson reaffirms and realleges paragraphs 1-44, 47, 49-53, 55-56, and 60-61

above.

         63.       At all times relevant hereto, the Defendant employed 5 or more individuals who

worked at least 30 hours per week in each of the 13 or more calendar weeks in 2017 and/or the

preceding year.

         64.       Thus, the Defendant was Stevenson’s “employer” within the meaning of the City

of Tampa Human Rights Ordinance (“the Ordinance”).

         65.       The Defendant operates its business at a location within the City of Tampa’s city

limits and is therefore subject to the Ordinance’s prohibition on sex discrimination.

         66.       Stevenson was discriminated against on the basis of his sex within the meaning of

the Ordinance.

         WHEREFORE, Stevenson demands that the Court enter judgment against the Defendant

for the following:

         a. Back wages and benefits;

         b. Reinstatement or front pay;

         c. Emotional distress, including mental anguish, pain, suffering, and loss of the ability to

               enjoy life;

         d. Declaratory and injunctive relief;

         e. Attorneys’ fees and costs;

         f. Pre-judgment interest;

         g. Punitive damages; and




                                        THORPE & THORPE, P.A.
                                            Page 8 of 11
    Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 9 of 14 PageID 9



          h. Any other relief the Court deems just and proper.

                COUNT IV (RETALIATION IN VIOLATION OF THE FLORIDA
                              WHISTLEBLOWER’S ACT)

          67.     Stevenson reaffirms and realleges paragraphs 1-44, 47, 49-53, and 55-56 above.

          68.     At all times relevant hereto, the Defendant employed 10 or more individuals at all

relevant times.

          69.     Thus, the Defendant was Stevenson’s “employer” within the meaning of the Florida

Whistleblower’s Act (“the Act”).1

          70.     Stevenson filed his Charge of Discrimination with the Equal Employment

Opportunity Commission and affiliated FEPA agencies on or about December 30, 2017.

          71.     Pursuant to regulations and agency guidance, the EEOC would have provided a

copy of the Charge of Discrimination to the Defendant within 10 days of its receipt of the Charge.

          72.     Therefore, upon information and belief, the Defendant would have received the

Stevenson’s Charge of Discrimination, wherein he alleged a violation of Title VII and the FCRA,

by mid-January, 2018.

          73.     Stevenson’s Charge of Discrimination was a form of opposition to actions by the

Defendant which were unlawful.

          74.     Subsequently to the Defendant’s receipt of the Charge of Discrimination,

Stevenson was rejected from at least one employment opportunity for which he was eminently

qualified.

          75.     During the last stage of the hiring process, Stevenson advised the potential

employer of his employment with and separation from the Defendant.


1
    Fla. Stat. § 448.101, et seq.


                                       THORPE & THORPE, P.A.
                                           Page 9 of 11
Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 10 of 14 PageID 10



       76.       Upon information and belief, the potential employer contacted the Defendant to

inquire about Stevenson, whereupon the Defendant gave Stevenson a negative review in retaliation

for his having filed a Charge of Discrimination.

       77.       As a direct and proximate result of the Defendant’s retaliation against Stevenson

for his having opposed the Defendant’s unlawful sex discrimination, Stevenson suffered damages;

to wit: being denied employment by the potential employer.

       WHEREFORE, Stevenson demands that the Court enter judgment against the Defendant

for the following:

       a. Back wages and benefits;

       b. Reinstatement or front pay;

       c. Emotional distress, including mental anguish, pain, suffering, and loss of the ability to

             enjoy life;

       d. Declaratory and injunctive relief;

       e. Attorneys’ fees and costs;

       f. Pre-judgment interest; and

       g. Any other relief the Court deems just and proper.

                                    JURY TRIAL DEMAND

       The Plaintiff demands a jury trial on all issues so triable.




                                      THORPE & THORPE, P.A.
                                          Page 10 of 11
Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 11 of 14 PageID 11



     Respectfully submitted this 17th day of June, 2019.


                                             /s/ Shaina Thorpe
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                                 THORPE & THORPE, P.A.
                                     Page 11 of 11
Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 12 of 14 PageID 12




                            COMP. EXHIBIT A
Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 13 of 14 PageID 13




                            COMP. EXHIBIT A
Case 8:19-cv-01462-CEH-JSS Document 1 Filed 06/17/19 Page 14 of 14 PageID 14




                            COMP. EXHIBIT A
